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                                                                                                                    Last revised 8/1/15
                                      UNITED STATES BANKRUPTCY COURT
                                           DISTRICT OF NEW JERSEY
In Re:                                                                          Case No.:             15-28859 (ABA)
                                                                                                  ____________________
Ralph A. Davis
                                                                                Judge:             Andrew B. Altenburg, Jr.
                                                                                                  ____________________

                                                                                Chapter:                       13

                          Debtor(s)

                                              Chapter 13 Plan and Motions

         ☐ Original                         ☐ Modified/Notice Required                            ☐ Discharge Sought
         ☐ Motions Included                 ☐ Modified/No Notice Required                         ☐ No Discharge Sought

         Date:       November, 2015
                 ____________________

                                        THE DEBTOR HAS FILED FOR RELIEF UNDER
                                         CHAPTER 13 OF THE BANKRUPTCY CODE

                                              YOUR RIGHTS WILL BE AFFECTED

You should have received from the court a separate Notice of the Hearing on Confirmation of Plan, which contains the date of the
confirmation hearing on the Plan proposed by the Debtor. This document is the actual Plan proposed by the Debtor to adjust debts.
You should read these papers carefully and discuss them with your attorney. Anyone who wishes to oppose any provision of this Plan
or any motion included in it must file a written objection within the time frame stated in the Notice. This Plan may be confirmed and
become binding, and included motions may be granted without further notice or hearing, unless written objection is filed
before the deadline stated in the Notice.

                         YOU SHOULD FILE A PROOF OF CLAIM BY THE DEADLINE STATED
                          IN THE NOTICE TO RECEIVE DISTRIBUTIONS UNDER ANY PLAN
                       THAT MAY BE CONFIRMED, EVEN IF THE PLAN REFERS TO YOUR CLAIM


   Part 1:    Payment and Length of Plan


                                        250.00
         a. The debtor shall pay $ _______________          month
                                                   per _______________ to the Chapter 13 Trustee, starting on
       November 1, 2015
 _________________________ for approximately _______________
                                                    60       months.

         b. The debtor shall make plan payments to the Trustee from the following sources:

                 ☐   Future earnings

                 ☐   Other sources of funding (describe source, amount and date when funds are available):




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       c. Use of real property to satisfy plan obligations:

           ☐ Sale of real property
             Description:
              Proposed date for completion: ____________________

           ☐ Refinance of real property:
             Description:
             Proposed date for completion: ____________________

           ☐ Loan modification with respect to mortgage encumbering property:
             Description: 3 Stites Ave. Gloucester City, NJ 08030
             Proposed date for completion: ____________________
                                                         04/2016

       d. ☐ The regular monthly mortgage payment will continue pending the sale, refinance or loan modification.

       e. ☐ Other information that may be important relating to the payment and length of plan:




Part 2:     Adequate Protection

      a. Adequate protection payments will be made in the amount of $ _______________ to be paid to the Chapter
13 Trustee and disbursed pre-confirmation to ______________________________ (creditor).
      b. Adequate protection payments will be made in the amount of $ _______________ to be paid directly by the
debtor(s) outside the Plan, pre-confirmation to: ______________________________ (creditor).

Part 3:     Priority Claims (Including Administrative Expenses)

       All allowed priority claims will be paid in full unless the creditor agrees otherwise:

Creditor                                   Type of Priority                            Amount to be Paid

Mark W. Ford, Esq.                        Attorney's Fees                             $2,900.00




Part 4:     Secured Claims

      a. Curing Default and Maintaining Payments
      The Debtor shall pay to the Trustee (as part of the Plan) allowed claims for arrearages on monthly obligations
and the debtor shall pay directly to the creditor (outside the Plan) monthly obligations due after the bankruptcy filing as
follows:




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Creditor             Collateral or       Arrearage             Interest Rate on    Amount to be          Regular Monthly
                     Type of Debt                              Arrearage           Paid to Creditor      Payment
                                                                                   (In Plan)             (Outside Plan)




      b. Modification
       1.) The debtor values collateral as indicated below. If the claim may be modified under Section 1322(b)(2), the
secured creditor shall be paid the amount listed as the “Value of the Creditor Interest in Collateral,” plus interest as
stated. The portion of any allowed claim that exceeds that value shall be treated as an unsecured claim. If a secured
claim is identified as having “NO VALUE” it shall be treated as an unsecured claim.

                             NOTE: A modification under this Section ALSO REQUIRES
                           the appropriate motion to be filed under Section 7 of the Plan.


Creditor           Collateral    Scheduled        Total          Superior Liens     Value of          Annual     Total
                                 Debt             Collateral                        Creditor          Interest   Amount
                                                  Value                             Interest in       Rate       to be
                                                                                    Collateral                   Paid




      2.) Where the Debtor retains collateral and completes the Plan, payment of the full amount of the allowed
secured claim shall discharge the corresponding lien.



      c. Surrender
       Upon confirmation, the stay is terminated as to surrendered collateral. The Debtor surrenders the following
collateral:

Creditor                                     Collateral to be Surrendered     Value of Surrendered      Remaining
                                                                              Collateral                Unsecured Debt




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      d. Secured Claims Unaffected by the Plan
           The following secured claims are unaffected by the Plan:
           Wells Fargo debt consolidation loan


      e. Secured Claims to be Paid in Full Through the Plan:

Creditor                                           Collateral                                Total Amount to be
                                                                                             Paid Through the Plan




Part 5:    Unsecured Claims


      a. Not separately classified allowed non-priority unsecured claims shall be paid:
           ☐ Not less than $ _______________ to be distributed pro rata
           ☐ Not less than _______________ percent
           ☐ Pro Rata distribution from any remaining funds

    b. Separately classified unsecured claims shall be treated as follows:

Creditor                                 Basis For Separate Classification     Treatment               Amount to be Paid




Part 6:    Executory Contracts and Unexpired Leases

      All executory contracts and unexpired leases are rejected, except the following, which are assumed:

Creditor                                         Nature of Contract or Lease           Treatment by Debtor




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Part 7:    Motions


NOTE: All plans containing motions must be served on all potentially affected creditors, together with local
form, Notice of Chapter 13 Plan Transmittal, within the time and in the manner set forth in D.N.J. LBR 3015-1.
A Certification of Service must be filed with the Clerk of Court when the plan and transmittal notice are served.


       a. Motion to Avoid Liens Under 11. U.S.C. Section 522(f).
       The Debtor moves to avoid the following liens that impair exemptions:


Creditor                Nature of        Type of Lien   Amount of        Value of        Amount of   Sum of All    Amount of
                        Collateral                      Lien             Collateral      Claimed     Other Liens   Lien to be
                                                                                         Exemption   Against the   Avoided
                                                                                                     Property




       b. Motion to Avoid Liens and Reclassify Claim From Secured to Completely Unsecured.
      The Debtor moves to reclassify the following claims as unsecured and to void liens on collateral consistent with
Part 4 above:

Creditor                        Collateral                          Amount of Lien
                                                                    to be Reclassified




     c. Motion to Partially Void Liens and Reclassify Underlying Claims as Partially Secured and Partially
Unsecured.
       The Debtor moves to reclassify the following claims as partially secured and partially unsecured, and to void
liens on collateral consistent with Part 4 above:




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Creditor                              Collateral                            Amount to be                        Amount to be
                                                                            Deemed Secured                      Reclassified as Unsecured




Part 8:     Other Plan Provisions

      a. Vesting of Property of the Estate
           ☐    Upon confirmation
           ☐    Upon discharge

       b. Payment Notices
     Creditors and Lessors provided for in Parts 4, 6 or 7 may continue to mail customary notices or coupons to the
Debtor notwithstanding the automatic stay.

       c. Order of Distribution
       The Trustee shall pay allowed claims in the following order:
           1) Trustee commissions
           2) ___________________________________________________________
              Mark W. Ford, Esq.

           3) ___________________________________________________________
           4) ___________________________________________________________

       d. Post-Petition Claims
      The Trustee ☐ is, ☐ is not authorized to pay post-petition claims filed pursuant to 11 U.S.C. Section 1305(a) in
the amount filed by the post-petition claimant.

Part 9:     Modification

       If this Plan modifies a Plan previously filed in this case, complete the information below.
       Date of Plan being Modified: _________________________.

Explain below why the plan is being modified:                               Explain below how the plan is being modified:
to add that the mortgage is not to be paid through the plan as the debtor   removing Seterus from being paid through the plan and that Wells Fargo
is applying for a loan modification and that the debt consolidation loan    is to be unaffected by the plan.
with Wells Fargo is to be unaffected by the plan.




      Are Schedules I and J being filed simultaneously with this Modified Plan?                         ☐ Yes            ☐ No




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Part 10:   Sign Here


      The Debtor(s) and the attorney for the Debtor (if any) must sign this Plan.


      Date: ______________________________
            November 10, 2015                                       /s/ Mark W. Ford
                                                                    ______________________________
                                                                    Attorney for the Debtor


      I certify under penalty of perjury that the above is true.


            November 10, 2015
      Date: ______________________________                          /s/ Ralph A. Davis
                                                                    ______________________________
                                                                    Debtor


      Date: ______________________________                          ______________________________
                                                                    Joint Debtor




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